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                EXHIBIT 13
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                                           Confidential
Full Hearing Deliberation Report
Reported Student’s Name: Ben Craver

        After a preliminary investigation and referral of his case to an Honor Council hearing,
Ben was found responsible for Violating Community Standards: Committing any action or
inaction which is offensive to the integrity and honesty of the members of the academic
community; Violating Community Standards: intentionally helping or attempting to help another
person to violate any provision of this Honor Code or the academic integrity policy at another
educational institution; and Violating Community Standards: disseminating any course materials,
including recording of the class, without the permission of the instructor, specifically in
developing a generative AI tool exposing Canvas data to a third party. The sanction as
determined by the Honor Council was one year suspension, Honor Code probation until
graduation, and mandatory completion of the educational program.

       This Honor Code report is not related to a specific course that the student is enrolled in,
there was no reporting faculty member in this case. As such, the hearing proceeded with
testimony from witnesses related to the issue.

        Kim Braxton is senior director of Academic Technology Services in the office of
Information Technology Services (LITS). She presented as the one of the witnesses to this case.
To begin with, Ms. Braxton described that their office was notified of an application called
Eightballs.AI by colleagues in the Emory Center of Digital Scholarship. They found that this
application was been marketed through various Reddit posts as a ChatGPT for Canvas.
In the evidence, we have two screenshots of information, one about ChatGPT from a Reddit
thread and another that includes comments of a Reddit thread.

         Being alerted that there was some use of Canvas to train an outsider third party
application with Canvas data immediately raised a red flag for Ms. Braxton. She reported that
they had a very thorough process by which a third party can be integrated into Canvas. This
process requires the third-party application to go through multiple reviews, like security reviews
etc., because they must make sure that the data that went through to the third-party system is in a
very narrow scope. They also have a formal relationship with all these approved third-party apps.
Then, they figured out that the Eightball program accesses the Canvas data through the Canvas
user generated token, which is essentially users’ Emory credentials that give full access to
everything users can access on Canvas. This user generated token is considered a highly
restricted user credential tool and sharing it to any outside party is a violation of Canvas terms
and IT policies.
         After the consultation with IT office, Ms. Braxton said that they decided to revoke tokens
that were shared with Eightball. But it was a very challenging thing with Canvas because firstly
this token system is not something that they can turn off and secondly revoking tokens requires
them to revoke all tokens that were issued. To deal with it, they chose to hide the token
generating button and then submitted a request to Instructure, INC., who is the parent company
of Canvas, asking for their advice on the token revocation. The goal was to stop what LITS
considered a data leak, and this process took some time. During this time, LITS noticed that
there was alternative instruction posted on Eightball webpage on how to circumvent the
concealed button in order to generate the token. In that posting, there was also a student posted
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his/her token under it, which constituted the credential leak on the open web. LITS immediately
sent out an email to the student and revoked that student’s token. They also explained that this
behavior violated IT policies and attached the corresponding term in that email to the student.
Afterward, Ms. Braxton stated that they put additional code to conceal the token generation
button, but students were continuing to circumvent it to generate tokens. Eventually they revoked
all tokens on a Saturday morning and informed all students whose tokens were revoked that
sharing their personal token is a violation of campus IT policy. They also sent a second email to
the student to inform them that this was the second token revocation, and they have violated the
IT policies and Canvas terms and service.
        When asked about the general use of token generation, Ms. Braxton explained that the
token was generated by users to have access of their own data. Mostly, faculty use it for
legitimate purposes, like producing applications or managing their files. But if any third party
has this access to the personal token, it is considered a security problem. From the security
perspective, people cannot give full access of their data to someone else. The fact that it was
OpenAI which got the access made the case even worse because OpenAI is trained on data. Once
people feed it with these personal data, it could answer others’ questions based on searching
through all these materials, potentially leading to copyright problems etc.
        In addition to it, since Eightball was participating in a business school pitch summit last
spring and was marketed on Emory Wheel and Emory Goizueta Newspaper, the Honor Council
asked if this application has changed since then. Ms. Braxton confirmed and pointed out that
while Eightball was in the pitch competition, it was only marketed as a flashcard generation tool
to help students study and it only required students to upload their course materials instead of
using a backdoor enterprise learning management system to get all course data and train OpenAI
with them. This was the major difference that she observed.

        After Ms. Braxton provided a general recounting of the issue, another witness Anthony
Hess, an administrator for Teaching and Learning Technology in the office of the Information
Technology Services (LITS), added more details on the case. He stated that the major concern
was raised from Eightball’s request for students’ credentials, i.e., the API token which both
identifies and authenticates the user. Eightball could potentially obtain any data that is accessible
through the token. Mr. Hess said that he immediately sent out the email to one of the students
who they found active on Eightball, informing him that doing so is a violation of Canvas terms
and services, and provided him the corresponding terms. He reported that there are many more
appropriate ways to access files on Canvas, but using API token is more for personal use. More
importantly, this token is not meant to be handed out to an external party. LITS found out that
Eightball was marketed toward other institutions as well. On October 31, 2023, the student token
corresponding to the student he warned in an email was invalidated. Soon afterward, as LITS
saw the activity to generate the token continued, they ended up invalidating hundreds of users’
tokens that they suspected to possibly be using the Eightball site.
        When asked about the possible things Eightball could do, Mr. Hess stated that Eightball
is very similar to ChatGPT but with a scope of data from Canvas. He explained that they had two
concerns: 1) the cheating potential with this program and 2) the fact that they did not know what
has been done with the data leaked from Canvas. From the IT perspective, Eightball could
basically do anything with the data they accessed, including but not limited to selling the data or
providing them to some external parties.
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every time the user asks questions. ES1 described their storage of data as google drive and
claimed that users’ data are still their own.
         Thirdly, to clarify their use of API tokens, ES1 stated that all their users gave consent to
them allowing them the access to all their data on Canvas. More importantly, they did not give
anything to OpenAI . The Eightball program did not use ChatGPT at all.
         For the pitch competition last spring, ES1 said that they pitched exactly what they built.
When they won the grand prize in the competition, they thought the whole school was behind
them to support them. There were also some professors and business school faculties who helped
them with networking and marketing. Hence, they continued to build this program and
eventually released it. Unlike what the witnesses described, ES1 said that not many people were
using Eightball, and he only got one email from the school instead of two. In the email he
received, there was only an explanation regarding the use of personal token but nothing telling
them to stop. However, ES1 stated that he still shut down the whole site at Emory four days later.
Therefore, ES1 did not believe that all the charges he faced were valid because he highly
respected school’s decision and never got any report of cheating related to the use of Eightball.
He was confused and did not feel like it was fair to punish them for developing Eightball,
especially when they shut everything down immediately after they got the email.
         Additionally, ES1 specified that he was not aware that using API tokens area violation of
Emory policies. He decided to change from uploading files to using API token on Eightball
because users were complaining about the low efficiency of uploading files last summer. ES1 got
the idea of using API tokens from Google and found the instruction online. He believed that it
was the best way to access Canvas. Though students at other intuitions can still use Eightball, if
the token that user provided was revoked, Eightball could no longer access the user’s Canvas. To
illustrate the generation of API token for users, ES1 made a video on it and published it on the
Eightball website. This was how his credential released on the open web and stated that he then
received an email from Mr. Hess. ES1 reported that he only got one email from the school which
did not tell him to stop the website. That email only mentioned something wrong with his
personal data, so he did not think it was related to Eightball.
         When asked about his attempt to circumvent the concealed token-generated button, ES1
said that he did not know it was a response to Eightball. He thought that there was something
wrong with the school website. Since there were only 15 people using Eightball at Emory, he did
not expect any response from the school. Hence, ES1 tried to fix the missing button and kept
Eightball working. An Honor Council member asked him about the Reddit post provided by Ms.
Braxton,ES1 said that he did not write one, which explicitly mentioned that Eightball could solve
homework problems. He admitted that he wrote the other one, which introduces Eightball’s
ability in making flashcards and mentioned the capability to help with homework as well. As
Ben said, there was a girl helping them on marketing Eightball. She quit and she does not go to
Emory. ES1 implied that she might have written the one that explicitly mentioned Eightball’s
ability to do homework. Though ES1 had the access to the Reddit account in Ms. Braxton’s
evidence, he reported that he did not follow closely when the girl marketed Eightball online.
         During the development of Eightball, ES1 emailed long before asking to be added as a
preferred app on Canvas, but he was rejected. Likewise, there was no one telling him the
appropriate process to access Canvas data as a third-party program. Moreover, ES1 confirmed
that he was aware of the possibility of using Eightball to cheat and they were trying to avoid it
from happening. He then re-emphasized that if the answer was not in the released course
materials, then Eightball cannot provide it.
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        After ES1 ’s testimony, the Honor Council posed several questions to him. ES1 provided
details about how Eightball works. First, when it comes to developing the practice exam,
Eightball is unable to provide answers to a practice exam. With regards to Eightball and sharing
data with OpenAI, ES1 explained that there are usually two ways to use AI in program
development: either using one’s own server or paying another company to use their AI. In this
case, they were the former case, so all data was stored in their server and was not shared to any
external parties. Revisiting the Reddit posts, the Honor Council inquired about why the response
included that the tool could solve homework problems, to which ES1 explained that since we
have marketed Eightball as analogues to ChatGPT, people could unconsciously think that it was
also capable of doing homework problems, but they did not use ChatGPT at all in their program
development. The Honor Council asked about the functionality, specifically during quizzes in
Canvas, and ES1 responded that Eightball only looks at the released files and modules so the
quizzes aren’t disseminated into Eightball’s database. ES1 acknowledged that he was aware that
the user token could access the entirety of the student’s data on Canvas. He also acknowledged
that the professor for the courses where a student was using Eightball would not be aware of the
student’s use.

         After ES1 answered all questions, Mr. Hess was brought back into the meeting to double
check if ES1 only received one email. Mr. Hess said that the ES1 only got one email from him,
and it was the initial email they sent out. However, there were subsequent communications that
came from the Teaching and Learning Technology office. There were another two emails sent out
to all students they suspected using the Eightball, which also included the student Mr. Hess
communicated with directly. Therefore, there were three emails in total: one directly from him
and two from the office. Nevertheless, on December 2, 2023, the office detected that Eightball
had made a second effort of circumventing their removal of the token generating button.

     Ben was given the opportunity to provide an additional closing statement after Mr. Hess’s
comments. He declined the opportunity.
       ES1 clarified the timeline for the emails from the Teaching and Learning technology
office for the Honor Council in response to Mr. Hess’s additional testimony. Beyond that, he
declined to give an additional closing statement.

         The Honor Council unanimously found Ben responsible for Violating Community
Standards: (1) Committing any action or inaction which is offensive to the integrity and honesty
of the members of the academic community; (2) intentionally helping or attempting to help
another person to violate any provision of this Honor Code or the academic integrity policy at
another educational institution; and (3) disseminating any course materials, including recording
of the class, without the permission of the instructor. To begin with, the development of
Eightball is based on a blueprint which incorporates the ability to cheat, which means that they
were aware of Eightball’s capacity and built it with intent. Even though Ben said that he was not
involved in the core software development phase, he was still involved heavily with developing
the software, tested it at various stages, and promoted its use among other students. More
significantly, the slides ES1 used for the pitch competition clearly showed that “check your
answer” is part of Eightball’s functions, proving that such capability was in Eightball’s blueprint
in the first place. They also pitched Eightball by comparing it with Chegg, a notorious
application used for cheating, as a pricing model. You can view this in their pitch deck. The
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Honor Council considered this information as evidence that they were well aware of their tool’s
similarity to existing homework help resources, many of which are known for perpetuating
academic misconduct.
        Therefore, Ben is responsible for both (1) and (2) because he chose to continue helping
the development of Eightball while being aware that Eightball could be used for cheating. This
could sufficiently prove that Ben has committed the sub charge (1) and (2). In addition to it,
knowing that this program has reached to other intuitions and Eightball was considered
problematic by Emory, Ben was part of the team that did not shut down Eightball service for
other institutions at the date of hearing, which constituted the sub charge (2) in helping people to
violate the provision of Honor Code at another educational institution. For charge (3), Ben was
clearly aware that the API token could allow Eightball to access user’s Canvas and their access
was not authorized even though ES1 reported that all user’s data was stored in their server (a
third party) safely, this access was neither authorized by Canvas nor Emory. As the unauthorized
access to course materials is essentially a dissemination of user’s information without professor’s
acknowledgement, Ben was also responsible for charge (3). In summary, we deemed that Ben is
responsible for the three charges described above.

        The Honor Council recommends the sanction of one year suspension, Honor Code
probation until graduation, and mandatory completion of the educational program.
        First, Eightball is an application that could help students violate the Honor Code in many
ways. The Reddit posts that Ms. Braxton provided clearly exhibited that Ben’s team were taking
the application as a “grey area”. In the Honor Council’s review of the case, the possibility of
using the tool for cheating purposes was present from the beginning and the developers chose to
look the other way. After being told they could not receive a product key, they looked for a work
around.
        Secondly, the fact that Emory gave them the grant implies that Emory was supporting
them. While the Honor Council can understand this position taken by the student, we
fundamentally disagree that this places the onus on the university to ensure the ethical
development of this tool. All students should carry the Honor Code and the value of academic
integrity as their leading principle. Moreover, this application has already reached other
educational institutions and has the potential to create widespread cheating across colleges and
universities that were unaware of this flaw in Canvas. It was clear that there were ways to
approach the development of this tool that were transparent and required consent of the professor
whose materials were being disseminated.
        The Honor Council members felt that Ben’s sanctions should reflect his limited
involvement with the development of the actual software. However, we do think time away from
Emory with one year of suspension would allow Ben to reflect upon his participation in
promotion of this cheating tool while simultaneously reflecting the extreme severity of this
matter. He may have not been a lead developer on it, but his actions were severely detrimental to
the academic integrity of Emory, students should not be involved with developing tools that
allow for cheating. The Honor Code probation until graduation will reflect this incident as the
student moves forward, while still reflecting the degree of Ben’s role in developing the program.
Finally, the Honor Council members hope that the educational program will help Ben to reflect
on this experience and move forward in a manner more positive for himself, the University, and
in a manner which abides by the Honor Code.
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Respectfully submitted,




Emory College Honor Council Student Member
